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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 ARCELORMITTAL PLATE LLC, et al.,         )
     Plaintiffs,                          ) Case No. 19-13527-LVP-APP
           v.                             )
 LAPEER INDUSTRIES, INC., et al.,         ) Hon. Linda V. Parker
     Defendants.                          )
 HOWMARK, LLC,                            ) Mag. Anthony P. Patti
     Third-Party Plaintiffs,              )
           v.                             )
 DANIEL SCHREIBER, et al.,                )
     Third-Party Defendants.              )


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Case 2:19-cv-13527-LVP-APP ECF No. 124, PageID.4068 Filed 06/11/21 Page 2 of 8




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       JOINT STIPULATION OF DISMISSAL PURSUANT TO RULE 41(a)(2)

         Pursuant to Federal Rule of Civil Procedure 41(a)(2), Plaintiffs ArcelorMittal

Plate LLC and ArcelorMittal USA, LLC (collectively, “ArcelorMittal”), Defendants

S&S Holdings, LLC (“S&S”), Brentwood Advisory Group, LLC (“Brentwood”),

Howmark, LLC (“Howmark”), Third-Party Defendants Daniel Schreiber and Daniel

C. Schreiber Revocable Trust dated 4/11/01 (collectively “Schreiber,” and together

with ArcelorMittal, S&S, Brentwood, and Howmark, the “Settling Parties”) and

Defendant (former bankruptcy Debtor) Lapeer Industries, Inc. (“Lapeer”)1 jointly

file this stipulation requesting that this Court enter an order dismissing the remaining

claims2 between or among Settling Parties in their entirety, including all of


1
 Lapeer’s bankruptcy case has been dismissed and has no assets. (See 5/6/2021
Minute Entry (dismissing case) (E.D. Mich. Bankr., Case No. 20-48744-mlo).)
2
  ArcelorMittal’s claims against Howmark were dismissed on May 5, 2021.
(ECF No. 121.)


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ArcelorMittal’s claims against Defendants S&S, and Brentwood, respectively, as

well as Howmark’s claims against Third-Party Defendants Schreiber, with

prejudice. The Settling Parties have resolved their differences and entered into a

settlement agreement. The Settling Parties request that the Court retain jurisdiction

to enforce the terms of the Settling Parties’ settlement agreement.

      Further, ArcelorMittal and Lapeer stipulate to a voluntary dismissal of

ArcelorMittal’s claims against Lapeer raised in the First Amended Complaint (ECF

No. 18) WITHOUT PREJUDICE.

      The Parties have further agreed to bear their own costs and fees.

      ArcelorMittal withdraws its Motion to Dismiss and for Order of Dismissal

(ECF No. 122).

      WHEREAS, ArcelorMittal, Defendants Lapeer, S&S, Brentwood, Howmark

and Third-Party Defendants Schreiber hereby stipulate to the Court’s entry of the

Order of Dismissal, submitted with this stipulation.




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Dated: June 11, 2021

 s/ Ashleigh J. Morpeau                s/ Rita M. Lauer (with consent)
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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 ARCELORMITTAL PLATE LLC, et al.,         )
 Plaintiffs,                              ) Case No. 19-13527-LVP-APP
 v.                                       )
 LAPEER INDUSTRIES, INC., et al.,         ) Hon. Linda V. Parker
 Defendants.                              )
 HOWMARK, LLC,                            ) Mag. Anthony P. Patti
 Third-Party Plaintiffs,                  )
 v.                                       )
 DANIEL SCHREIBER, et al.,                )
 Third-Party Defendants.                  )


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 Howmark, LLC


                           ORDER OF DISMISSAL
      Plaintiffs ArcelorMittal Plate LLC (“ArcelorMittal Plate”) and ArcelorMittal

USA LLC (“ArcelorMittal USA”) (collectively “ArcelorMittal”), Defendants S&S

Holdings, LLC (“S&S”), Brentwood Advisory Group, LLC (“Brentwood”),

Howmark, LLC (“Howmark”), Third-Party Defendants Daniel Schreiber and Daniel

C. Schreiber Revocable Trust dated 4/11/01 (collectively “Schreiber,” and together

with ArcelorMittal, S&S, Brentwood, and Howmark, the “Settling Parties”) and

Defendant (former bankruptcy debtor) Lapeer Industries, Inc. (“Lapeer”) have filed

a Joint Stipulation for Dismissal pursuant to Federal Rule of Civil Procedure

41(a)(2). The Court having examined the Stipulation finds that ArcelorMittal wishes

to voluntarily dismissed its claims against Lapeer raised in the First Amended

Complaint (ECF No. 18) WITHOUT PREJUDICE. The Court finds that all issues

raised in the First Amended Complaint (ECF No. 18) by ArcelorMittal and against



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Brentwood, S&S and Howmark, respectively, have been resolved. The Court further

finds that all the issues raised in the Third-Party Complaint (ECF No. 35) between

Howmark and Schreiber have been resolved; accordingly,

      It is ORDERED that:

      1.    ArcelorMittal’s claims against Brentwood and S&S, respectively, are

dismissed with prejudice;

      2.    Howmark’s claims against Schreiber are dismissed with prejudice;

      3.    The Court retains jurisdiction to enforce the terms of the Settling

Parties’ settlement agreement;

      4.    ArcelorMittal’s claims against Lapeer are dismissed WITHOUT

PREJUDICE;

      5.    Each of the Parties will bear their respective costs and fees; and

      6.    ArcelorMittal’s Motion to Dismiss and for Order of Dismissal (ECF

No. 122) is withdrawn.

      IT IS SO ORDERED.
                                              s/ Linda V. Parker
                                              LINDA V. PARKER
                                              U.S. DISTRICT JUDGE
 Dated: June 11, 2021




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                          CERTIFICATE OF SERVICE

      I hereby certify that, on June 11, 2021, copies of the foregoing Joint

Stipulation of Dismissal Pursuant to Rule 41(a)(2) and Order of Dismissal was filed

electronically. Notice of this filing will be sent to all counsels of record by operation

of the Court’s electronic filing system. The parties may access this filing through

the Court’s system.

                                             Respectfully submitted,

                                             /s/ Ashleigh J. Morpeau
                                             Ashleigh J. Morpeau

                                              One of the Attorneys for Plaintiffs
                                              ArcelorMittal Plate LLC and
                                              ArcelorMittal USA LLC




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